                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                             CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,                           )
                                                     )
                    Plaintiff,                       )     No. CR 21-CR-0078
                                                     )
            vs.                                      )
                                                     )
 KIEDIS OLDBEAR,                                     )
                                                     )
                    Defendant.                       )

                   GOVERNMENT’S SENTENCING MEMORANDUM

       Pursuant to the Court’s May 6, 2022, Order, the United States hereby

provides its sentencing memorandum.

A.     Government Witnesses

       None

B.     Government Exhibits1

       1.         Documents regarding FECR013414

       2.         Documents regarding AGCR083305

C.     Sentencing Issues

       The Final Presentence Investigation Report notes four issues for the Court to

decide at sentencing: (1) defendant’s ability to pay a fine; (2) whether the Court

should upwardly depart pursuant to USSG §4A1.3; (3) whether the Court should

upwardly depart pursuant to USSG §5K2.21; and (4) defendant’s motion for a

downward variance. The government has conducted further investigation


1 The government’s exhibits are attached to its motion for an upward departure and upward

variance.

                                                1

      Case 1:21-cr-00078-CJW-MAR Document 33 Filed 05/18/22 Page 1 of 2
regarding defendant’s ability to pay a fine and withdraws its objections to

Paragraph 74. This is no longer an issue the Court will need to address at

sentencing. The government will separately file a motion for an upward departure

pursuant to USSG §4A1.3 and §5K2.21. Finally, the government will respond to

any variance motion once it is filed with the Court.


                                              Respectfully submitted,

                                              TIMOTHY T. DUAX
                                              Acting United States Attorney
    CERTIFICATE OF SERVICE
                                              By: s/Lisa C. Williams
I hereby certify that on May 18, 2022 I
electronically filed the foregoing with the
Clerk of Court using the ECF system           LISA C. WILLIAMS
which will send notification of such filing   Assistant United States Attorney
to the parties or attorneys of record.
                                              111 7th Street, SE Box 1
UNITED STATES ATTORNEY                        Cedar Rapids, IA 52401
BY: /s/ L. Williams                           (319) 363-6333
                                              (319) 363-1990 - fax
                                              lisa.williams@usdoj.gov




                                                2

       Case 1:21-cr-00078-CJW-MAR Document 33 Filed 05/18/22 Page 2 of 2
